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10
                        IN THE UNITED STATES DISTRICT COURT
11
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
13     CALIFORNIA GROCERS                         Case No. 21-cv-00524-DMG-AS
14     ASSOCIATION, a California non-
       profit organization,                   PROPOSED INTERVENOR UNITED
15                                            FOOD & COMMERCIAL WORKERS
16               Plaintiff,                   LOCAL 324’s UNOPPOSED MOTION
                                              TO INTERVENE
17     v.
                                              Judge: Hon. Dolly M. Gee
18     THE CITY OF LONG BEACH, a
                                              Date: March 12, 2021
19     charter municipality,
                                              Time: 9:30 AM
20               Defendants,
                                              Location: Courtroom 8C
21
22
23                                            [Fed. R. Civ. P. 24]
24
25     UNITED FOOD & COMMERCIAL
       WORKERS LOCAL 324
26
27               Proposed Intervenor.
28


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1                      MOTION AND NOTICE FOR INTERVENTION
2           TO ALL PARTIES AND ATTORNEYS OF RECORD:
3           PLEASE TAKE NOTICE THAT on March 12, 2021, at 9:30 a.m., or at such
4     date as the Court may schedule hearing, United Food & Commercial Workers Local
5     324 ( “Local 324”) will and hereby does move the Court for leave to intervene in this
6     action pursuant to Federal Rule of Civil Procedure 24(a) and (b) and for leave to file
7     the appended motion to dismiss.
8           Plaintiff California Grocers Association and Defendant City of Long Beach do
9     not oppose, and have stipulated to, Local 324’s intervention in this case, as set forth in
10    Exhibit B to this motion. Local 324 submits this motion and accompanying brief to
11    demonstrate that it meets the requirements for intervention of right under Federal Rule
12    of Civil Procedure 24(a), and that in any case, the Court should grant it permissive
13    intervention pursuant to Rule 24(b).
14          This motion is based on the accompanying Memorandum of Points and
15    Authorities, Stipulation to Intervention, on the full records in this matter, and on such
16    further briefing and argument as the Court may request.
17
18    Dated: February 9, 2021                 Respectfully Submitted,
19
                                              McCRACKEN, STEMERMAN &
20                                            HOLSBERRY, LLP
21
22                                            By: /s/Paul L. More
23                                               PAUL L. MORE
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                                              Attorneys for Proposed Intervenor United Food
25                                            & Commercial Workers Local 324
26
27
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                        IN THE UNITED STATES DISTRICT COURT
11
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
13     CALIFORNIA GROCERS                              Case No. 21-cv-00524
14     ASSOCIATION, a California non-
       profit organization,                       PROPOSED INTERVENOR
15                                                UNITED FOOD & COMMERCIAL
16               Plaintiff,                       WORKERS LOCAL 324’s
                                                  MEMORANDUM OF POINTS AND
17     v.                                         AUTHORITIES IN SUPPORT OF
18                                                UNOPPOSED MOTION TO
       THE CITY OF LONG BEACH, a
                                                  INTERVENE
19     charter municipality,
                                                  [Fed. R. Civ. P. 24]
20               Defendants.
21
22     UNITED FOOD & COMMERCIAL
       WORKERS LOCAL 324
23
                 Proposed Intervenor.
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1                                       INTRODUCTION
2           United Food and Commercial Workers Local 324 (“Local 324”), a labor union
3     that represents grocery store and other retail workers in Long Beach and Orange
4     County, brings this unopposed motion for leave to intervene in this action and to file
5     the appended motion to dismiss as Exhibit A. The City and Plaintiff California
6     Grocers Association do not oppose and have stipulated to Local 324’s intervention. See
7     Ex. B. Local 324 files this brief to provide to explain why the Court should grant
8     intervention.
9           The City of Long Beach’s Premium Pay for Grocery Workers Ordinance
10    (“Ordinance”) requires that large grocery stores pay frontline workers an hourly
11    premium to compensate them for special risk they face during the pandemic and to
12    encourage their retention. Local 324 was a principal advocate for passage of the
13    Ordinance.
14          CGA sued the City alleging that the Ordinance is preempted by federal labor law
15    and violates the Equal Protection and Contract Clauses of the U.S. and California
16    Constitutions. In its Complaint, CGA makes many allegations concerning Local 324,
17    both in its capacity as a proponent of the Ordinance and as the collective-bargaining
18    representative of workers covered by the Ordinance.
19          Local 324 seeks leave to intervene in this lawsuit to defend its interest as a
20    principal proponent of the Ordinance and its members’ interests in the Ordinance’s
21    increased pay for hazardous work. Courts regularly grant intervention to unions
22    seeking to defend protective legislation that benefits their members and for which they
23    lobbied. See e.g., Californians for Safe & Competitive Dump Truck Trans. v.
24    Mendonca, 152 F.3d 1184, 1189–90 (9th Cir. 1998); Am. Hotel & Lodg. Ass’n v. City
25    of L.A., No. CV 14-09603-AB (SSX), 2015 WL 12745805, at *1 (C.D. Cal. Mar. 25,
26    2015).
27          Local 324 has a right to intervene in this matter. This motion is timely—filed
28    weeks after CGA filed its complaint. Local 324 has a significant protectable interest in

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1     the Ordinance both as its proponent and as a union whose members benefit from it.
2     Those interests would be impaired by an injunction preventing the City from enforcing
3     the Ordinance and by the stare decisis effect of a declaration that the Ordinance is
4     unconstitutional on Local 324 members’ private actions to enforce the measure.
5     Finally, the City may not adequately represent Local 324’s interests in the Ordinance
6     because Local 324’s interests are narrower than those of the public-at-large.
7     Additionally, Local 324 and its counsel can contribute to the Court’s understanding of
8     this case through knowledge of the grocery retail industry and expertise in the
9     constitutional and federal preemption issues that CGA raises.
10                                STATEMENT OF FACTS
11          Local 324 is a labor union that represents grocery store workers in Southern
12    California, including many who work at grocery stores in the City and are covered by
13    the Ordinance. Complaint (Doc. 9), ¶13. Local 324 was a principal supporter of the
14    Ordinance. Doc. 9. ¶16.
15          The Ordinance provides grocery store workers an additional four dollars per
16    hour of work. Ordinance, §5.91.050. It exempts stores with 300 or fewer employees
17    nationwide or an average of fifteen or fewer employees per store in the City. Id. at §
18    5.91.040.
19          The Ordinance is intended to “compensate[] grocery store workers for the risks
20    of working during a pandemic[,]” noting such workers face “magnified risks of
21    catching or spreading the COVID-19 disease because the nature of their work involves
22    close contact with the public[.]” Id. at § 5.91.005. The Ordinance is also designed to
23    “ensure[] the retention of these essential workers who are on the frontlines of this
24    pandemic providing essential services and who are needed throughout the duration of
25    the COVID-19 emergency.” Id.
26          The City passed the Ordinance as an emergency measure, and it expires after
27    120 days unless the City extends it. Id. at § 5.91.050(C). In order to ensure that the
28    Ordinance is not rendered a nullity, the Ordinance prohibits grocery stores from

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1    reducing workers’ other compensation or work hours in response to the Ordinance. Id.
2    at § 5.91.060. It also provides workers a private right of action to enforce the
3    Ordinance. Id. at 5.91.120.
4                                             ARGUMENT
5    I.        Local 324 Has A Right to Intervene In This Action.
6              The Ninth Circuit interprets Rule 24(a) liberally in favor of intervention.
7    California ex rel. Lockyer v. United States, 450 F.3d 436, 440 (9th Cir. 2006);
8    Donnelly v. Glickman, 159 F.3d 405, 409 (9th Cir. 1998). All well-pleaded, non-
9    conclusory allegations in the motion to intervene and accompanying pleadings are
10   accepted as true “absent sham, frivolity or other objections.” Sw. Ctr. for Biolog. Div.
11   v. Berg, 268 F.3d 810, 820 (9th Cir. 2001). Courts apply a four-part test to determine
12   whether intervention is appropriate:
13             (1) the motion must be timely; (2) the applicant must claim a “significantly
14             protectable” interest relating to the property or transaction which is the subject
               of the action; (3) the applicant must be so situated that the disposition of the
15             action may as a practical matter impair or impede its ability to protect that
16             interest; and (4) the applicant’s interest must be inadequately represented by the
               parties to the action.
17
18   Sierra Club v. EPA, 995 F.2d 1478, 1481 (9th Cir. 1993). Local 324 meets these
19   requirements.1
20        A.      This motion is timely.
21             This motion was filed weeks after the complaint, so it is timely. See, e.g.,
22   Citizens for Balanced Use v. Mont. Wilder. Ass’n, 647 F.3d 893, 897 (9th Cir. 2011)
23   (intervention motion filed less than three months after complaint timely); Idaho Farm
24   Bureau Fed’n v. Babbitt, 58 F.3d 1392, 1397 (9th Cir. 1995) (intervention motion filed
25   four months after complaint filed timely). The City has not yet filed a responsive
26
27
     1
28    Intervenors do not need to demonstrate Article III standing. See Vivid Enter., LLC v.
     Fielding, 774 F.3d 566, 573 (9th Cir. 2014).
                                                    3
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1    pleading, and this motion and the accompanying motion to dismiss are brought within
2    the window for such a pleading. See Fed. R. Civ. P. 12(a)(1)(A)(i).
3       B.        Local 324 has significant protectable interests in the Ordinance.
4            Local 324 has two separate interests in the Ordinance each sufficient to support
5    intervention of right. First, it supported the passage of the Ordinance. Second, Local
6    324’s members are direct beneficiaries of the Ordinance’s premium pay requirement.
7            1.      Local 324 has a significantly protectable interest as a supporter of the
8                    Ordinance.

9            “[A] public interest group [is] entitled as a matter of right to intervene in an
10   action challenging the legality of a measure which it supported.” Sagebrush Rebellion
11   v. Watt, 713 F.2d 525, 526–27 (9th Cir. 1983) (citing Wash. State. Bldg. & Constr.
12   Trades v. Spellman, 684 F.2d 627 (9th Cir. 1982)); see also Idaho Farm Bureau
13   Federation v. Babbitt, 58 F.3d 1392, 1397 (9th Cir.1995) (“[a] public interest group is
14   entitled as a matter of right to intervene in an action challenging the legality of a
15   measure it has supported.”). Local 324 was a primary supporter of the Ordinance’s
16   passage, as the Complaint recognizes. Doc. 9, ¶16. Local 324 is entitled as a matter of
17   right to defend the law.
18           The Complaint puts Local 324’s support for the Ordinance at issue, which is
19   another reason that intervention of right is warranted. The Complaint alleges that the
20   stated purposes of the Ordinance are “merely an attempt to impose a public policy
21   rationale on interest-group driven legislation for labor unions and, in particular, for
22   [Local 324].” Doc. 9, ¶35; Doc. 9, ¶16 (describing Local 324 and its parent union’s
23   campaign to secure hazard pay for grocery store workers). This action thus seeks to
24   punish Local 324 for engaging in constitutionally protected petitioning activity to pass
25   legislation beneficial to the grocery store workers it represents and to discredit that
26   legislation based on Local 324’s advocacy. Local 324 is entitled to intervene to protect
27   its right to engage in the legislative process.
28

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1            2.     Local 324 has a significant protectable interest in the benefits the
                    Ordinance provides to its members.
2
3            Unions have a protectable interest where their members’ interests are implicated.
4    See, e.g., United States v. City of L.A., 288 F.3d 391, 398–99 (9th Cir. 2002) (finding
5    police officers’ union had a protectable interest because the complaint sought
6    injunctive relief affecting the union’s members); Am. Hotel & Lodg. Ass’n, 2015 WL
7    12745805 at *3–4 (finding unions had a protectable interest because members received
8    benefits from minimum-wage ordinance); Golden Gate Rest. Ass’n v. City & Cty. of
9    S.F., No. C 06-06997 JSW, 2007 WL 1052820, at *2 (N.D. Cal. April 5, 2007)
10   (finding unions had a protectable interest in defending against challenge to local
11   health-care ordinance from which unions’ members received benefits). For instance,
12   the Ninth Circuit held a union had a protectable interest in defending California’s
13   prevailing wage law against a claim that it was preempted because the union’s
14   members had an interest in “receiving the prevailing wage for their services as opposed
15   to a substandard wage.” Mendonca, 152 F.3d at 1189–90. Similarly, Local 324’s
16   members have an interest in receiving fair and equitable compensation for the
17   considerable risks they face while providing an essential service during the COVID-19
18   pandemic.
19           Either Local 324’s interest as a proponent of the measure or its members’
20   interest in receiving the Ordinance’s benefits are sufficient to satisfy this prong of the
21   Rule 24(a) test for intervention of right.
22      C.        Enjoining the Ordinance or declaring it unconstitutional would impair
                  Local 324’s ability to protect its interests.
23
24           A party is entitled to intervene when “their interests would as a practical matter
25   be impaired or impeded by the disposition of [the] action.” Berg, 268 F.3d at 822
26   (emphasis added); see also Fed. R. Civ. P. 24 advisory committee’s note to 1966
27   amendment (stating party is entitled to intervene if a determination in an action would
28   affect them “in a practical sense”).

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1            The injunction sought by CGA would impair Local 324’s members’ interest in
2    the Ordinance’s hazard pay. See Mendonca, 152 F.3d at 1190; Am. Hot. & Lodg.
3    Ass’n, 2015 WL 12745805 at *4; Golden Gate Rest. Ass’n, 2007 WL 1052820 at *3. It
4    would prevent the City from enforcing the Ordinance on Local 324’s members’ behalf,
5    requiring Local 324 or individual members to bear the cost of enforcing the Ordinance
6    via the Ordinance’s private right of action. Cf. Hope Clinic v. Ryan, 249 F.3d 603, 605
7    (7th Cir. 2001) (holding private right of action cannot be enjoined in case with only
8    public defendants); see also Doe v. Pryor, 344 F.3d 1282 (11th Cir. 2003) (same);
9    Okpalobi v. Foster, 244 F.3d 405 (5th Cir. 2001) (en banc) (same). State-court
10   enforcement through the Ordinance’s private right of action could be hindered through
11   the stare decisis effect of a declaration that the Ordinance is unconstitutional. See
12   Greene v. United States, 996 F.2d 973, 977 (9th Cir. 1993) (citing United States v.
13   Oregon, 839 F.2d 635, 638 (9th Cir. 1988)) (“Intervention may be required when
14   considerations of stare decisis indicate that an applicant’s interest will be practically
15   impaired.”); cf. City of L.A., 288 F.3d at 397-98 (“By allowing parties with a practical
16   interest in the outcome of a particular case to intervene, we often prevent or simplify
17   future litigation involving related issues; at the same time, we allow an additional
18   interested party to express its views before the court.”).
19      D.      The City may not adequately represent Local 324’s interests.
20           Intervention is appropriate if the proposed intervenors make the “minimal”
21   showing that their interests “may be” inadequately represented by the existing parties.
22   Trbovich v. United Mine Workers, 404 U.S. 528, 538 n.10 (1972) (granting
23   intervention to union members aligned with Secretary of Labor’s position in the case
24   because Secretary had duties not only to union members but to the public generally);
25   Sagebrush Rebellion, 713 F.2d at 528; Sw. Ctr. for Biological Diversity, 268 F.3d at
26   823; see also 6 James Wm. Moore, et al., Moore’s Federal Practice § 24.03[4][a] (3d
27   ed. 1999) (“[T]he applicant should be treated as the best judge of whether the existing
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                                                 6
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1    parties adequately represent his or her interests, and . . . any doubt regarding adequacy
2    of representation should be resolved in favor of the proposed intervenors.”).
3          This minimal burden is satisfied when the applicant (or its members) have
4    interests that are “more narrow and parochial than the interests of the public at large.”
5    Mendonca, 152 F.3d at 1190; see also Sierra Club v. Espy, 18 F.3d 1202, 1207–08 (5th
6    Cir. 1994) (finding government representation of interests inadequate because “[t]he
7    government must represent the broad public interest, not just the economic concerns of
8    the timber industry”).
9          Local 324 has a more narrow and parochial interest than the City because CGA’s
10   labor-law preemption argument focuses on the Ordinance’s alleged effects on Local
11   324’s collective bargaining agreements and negotiations. See Doc. 9, ¶ 26 (“The
12   Ordinance establishes premium pay standards that, by design or consequence,
13   empower the UFCW . . . to secure a wage rate they could not have otherwise
14   obtained[.]”) In American Hotel and Lodging Association, the court found a union had
15   a “distinct interest” in defending against a plaintiff’s arguments that a local minimum
16   wage ordinance was preempted because it distorted the collective bargaining process.
17   2015 WL 12745805 at *5. The same is true here. Although the City has a general
18   interest in defending the Ordinance, it does not have the same interest in responding to
19   CGA’s attempt to use Local 324’s collective bargaining as a weapon against Local
20   324’s members.
21         Additionally, Local 324 has a more narrow interest than the City because it
22   solely represents the Ordinance’s grocery-worker beneficiaries, whereas the City
23   represents the interests of the public at large, including “businesses and employers who
24   may claim to be harmed by the passage of the Ordinance.” Golden Gate Rest. Ass’n,
25   2007 WL 1052820, at *4.
26         Local 324 and its counsel can also augment the City’s defense—and the Court’s
27   understanding—of this case. Local 324 has significant knowledge of the grocery retail
28   industry in general and the City’s grocery industry in particular. See, e.g., Sagebrush

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1    Rebellion, Inc., 713 F.2d at 528 (holding inadequacy shown in part by applicant
2    “having expertise apart from that of the Secretary”). Local 324’s counsel has extensive
3    experience litigating cases challenging state and local minimum-wage laws on
4    constitutional and labor-preemption theories, including cases of direct relevance to
5    CGA’s claims here.2 This experience will aid the City in defense of the Ordinance and
6    aid the Court in sorting through CGA’s claims.
7          In light of Local 324 and its members’ narrower interests in the Ordinance than
8    the public at large its interests will not be adequately represented unless it is permitted
9    to intervene.
10   II.   Local 324 also qualifies for permissive intervention.
11         If there is any doubt that Local 324 qualifies for intervention of right, the Court
12   should allow permissive intervention. A court considers three factors in determining
13   whether to allow permissive intervention: (1) the existence of independent grounds for
14   jurisdiction; (2) timeliness; and (3) whether the applicant’s claim or defense and the
15   main action share common questions of law or fact. Nw. Forest Res. Council v.
16   Glickman, 82 F.3d 825, 839 (9th Cir. 1996). Rule 24(b)(3) also requires the Court to
17   consider whether “the intervention will unduly delay or prejudice the adjudication of
18   the original parties’ rights.” Fed. R. Civ. P. 24(b)(3).
19          Local 324 meets these requirements. Independent grounds for jurisdiction are
20   not required where the district court’s jurisdiction is grounded in a federal question and
21   the proposed intervenor does not seek to bring new state-law claims. See Freedom
22   from Religion Found., Inc. v. Geithner, 644 F.3d 836, 843 (9th Cir. 2011). Local 324
23   brings no new claims. Its application for intervention is timely, coming before the City
24   2
      Cases that Local 324’s counsel have litigated include: Livadas v. Bradshaw, 512 U.S.
25   107 (1994); RUI v. City of Berkeley, 371 F.3d 1137 (9th Cir. 2004); Am. Hotel &
26   Lodging Ass’n v. City of Los Angeles, 119 F.Supp.3d 1177, 1179 (C.D. Cal. 2015),
     aff’d, 834 F.3d 958 (9th Cir. 2016); Fortuna Enter. L.P. v. City of Los Angeles, 673
27   F.Supp.2d 1000 (C.D. Cal. 2008); Woodfin Suite Hotels LLC v. City of Emeryville, No.
28   06-cv-1254-SBA, 2006 WL 2739309 (N.D. Cal. Aug 23, 2006); and 520 S. Michigan
     Ave. Assocs., Ltd. v. Shannon, 549 F.3d 1119 (7th Cir. 2008).
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                               UNOPPOSED MOTION TO INTERVENE
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1    has filed an answer or motion to dismiss. Intervention will not unduly delay or
2    prejudice the original parties’ rights, as Local 324 has stipulated that it does not seek to
3    submit briefing on CGA’s pending preliminary-injunction motion. Finally, Local
4    324’s defenses share common questions of law and fact with the City’s defense of the
5    ordinance. Permissive intervention should be granted if mandatory intervention is not.
6    See Employee Staffing Services v. Aubry, 20 F.3d 1038, 1042 (9th Cir. 1994)
7    (affirming permissive intervention of labor group to defend measure it supported).
8                                         CONCLUSION
9          For the foregoing reasons, the Court should grant Local 324’s unopposed motion
10   to intervene should be granted.
11
12   Dated: February 9, 2021                 Respectfully Submitted,
13
                                             McCRACKEN, STEMERMAN &
14                                           HOLSBERRY, LLP
15
16                                           By: /s/Paul L. More
17                                              PAUL L. MORE
                                                LUKE DOWLING
18
                                             Attorneys for Proposed Intervenor United Food
19                                           & Commercial Workers Local 324
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                               UNOPPOSED MOTION TO INTERVENE
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1                                CERTIFICATE OF SERVICE
2          I am employed in the city and county of San Francisco, State of California. I

3    am over the age of eighteen years and not a party to the within action; my business
4    address is: 595 Market Street, Suite 800, San Francisco, California 94105.
5          On February 9th, 2021, I served a copy of the foregoing document
6       PROPOSED INTERVENOR UNITED FOOD & COMMERCIAL
        WORKERS LOCAL 324’s UNOPPOSED MOTION TO INTERVENE
7
8    on the interested party(s) in this action, as follows:
9    By ECF System - Court’s Notice of Electronic Filing:
10
       William F Tarantino                             Christopher M Pisano
11     Byung-Kwan Park                                 Best Best and Krieger LLP
12     Robert Santos Sandoval                          300 South Grand Avenue 25th Floor
       Morrison and Foerster LLP                       Los Angeles, CA 90071
13     425 Market Street                               213-617-8100
14     San Francisco, CA 94105                         Fax: 213-617-7480
       415-268-7000                                    Email: christopher.pisano@bbklaw.com
15
       Fax: 415-268-7522
16     Email: wtarantino@mofo.com                      Attorneys for City of Long Beach
17     Email: bpark@mofo.com
       Email: RSandoval@mofo.com
18
19     Tritia M Murata
       Morrison and Foerster LLP
20     707 Wilshire Boulevard Suite 6000
21     Los Angeles, CA 90017-3543
       213-892-5200
22
       Fax: 213-892-5454
23     Email: tmurata@mofo.com
24
       Attorneys for California Grocers
25     Association
26
27         I declare under penalty of perjury under the laws of the State of California that
28   the foregoing is true and correct.

                                                   1
                                     CERTICIATE OF SERVICE
                                    Case No. 21-cv-00524-DMG-AS
 Case 2:21-cv-00524-DMG-AS Document 27 Filed 02/09/21 Page 18 of 18 Page ID #:813




1        Executed on this 9th Day of February, 2021, at San Francisco, California.
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4                                      ______________________
5                                         Katherine Maddux
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                                CERTICIATE OF SERVICE
                               Case No. 21-cv-00524-DMG-AS
